20-10640-tmd Doc#58 Filed 06/22/20 Entered 06/22/20 18:03:25 Main Document Pg 1 of 5




                              UNITED STATES BANKRUPTCY COURT
                                 WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

  IN RE:                                          §           Case No. 20-10640-tmd
  EF-290, LLC                                     §
                                                  §
         Debtor-in-Possession                     §           Chapter 11


      APPLICATION OF DEBTOR-IN-POSSESSION FOR RETENTION OF HAJJAR
            PETERS, LLP AS COUNSEL PURSUANT TO 11 U.S.C. § 327(A)


           This pleading requests relief that may be adverse to your interests.
           If no timely response is filed within 21 days from the date of service, the
           relief requested herein may be granted without a hearing being held.
           A timely filed response is necessary for a hearing to be held.


         COMES NOW, EF-290, LLC, (“Applicant” or the “Debtor”), and pursuant to 11 U.S.C. §

  327(a), files this Application of Debtor-In-Possession for Retention of Hajjar Peters, LLP as

  Counsel Pursuant to 11 U.S.C. § 327(a) and respectfully represents:

         1.      On May 29, 2020 (the “Petition Date”), the Debtor filed a voluntary petition herein

  under Chapter 11 of the United States Bankruptcy Code.

         2.      Applicant has continued in possession of its property and as debtor-in-possession

  is managing its property.

         3.      Debtor, as debtor-in-possession, wishes to employ Hajjar Peters LLP (“HP”) as its

  counsel. Lead counsel will be Charlie Shelton, an attorney duly admitted to practice in this Court.

  Mr. Shelton’s address and telephone number are: 3144 Bee Caves Rd, Austin, Texas 78746; 512-

  637-4956; 512-637-4958 (facsimile); email: cshelton@legalstrategy.com.
20-10640-tmd Doc#58 Filed 06/22/20 Entered 06/22/20 18:03:25 Main Document Pg 2 of 5




         4.        Applicant has selected HP and Mr. Shelton for the reason that they have

  considerable experience in bankruptcy matters, and believes that Mr. Shelton is well qualified to

  represent it as debtor-in-possession in this proceeding.

         5.        The professional services that HP are to render include:

              a.      to give Debtor legal advice with respect to its powers and duties as Debtor-in-
                      Possession in the continued operation of its business and management of his
                      property;

              b.      to advise the Debtor of its responsibilities under the Bankruptcy Code and assist
                      with such;

              c.      preparation and filing of the voluntary petition and other paperwork necessary
                      to commence this proceeding;

              d.      assisting the Debtor in preparing and filing the required Schedules, Statement
                      of Affairs, Monthly Financial Reports, the Initial Debtor Report and other
                      documents required by the Bankruptcy Code, the Federal Rules of Bankruptcy
                      Procedure, the Local Rules of this Court and the administrative procedures of
                      the Office of the United States Trustee;

              e.      representation of the Debtor in connection with adversary proceedings and
                      other contested and uncontested matters, both in this Court and in other courts
                      of competent jurisdiction, concerning any and all matters related to these
                      bankruptcy proceedings and the financial affairs of the Debtor, including, but
                      not limited to, litigation affecting property of the Estate, suits to avoid or
                      determine lien rights or other property interests of creditors and other parties in
                      interest, objections to disputed claims, motions to assume or reject leases and
                      other executory contracts, motions for relief from the automatic stay and
                      motions concerning the discovery of documents and other information relating
                      to any of the foregoing;

              f.      representation of the Debtor in the negotiation and documentation of any sales
                      or refinancing of property of the estate, and in obtaining the necessary approvals
                      of such sales or refinancing by this Court; and

              g.      assisting the Debtor in the formulation of a plan of reorganization and
                      disclosure statement, and in taking the necessary steps in this Court to obtain
                      approval of such disclosure statement and confirmation of such plan of
                      reorganization,

         6.        HP’s employment would be in the best interest of this estate.
20-10640-tmd Doc#58 Filed 06/22/20 Entered 06/22/20 18:03:25 Main Document Pg 3 of 5




         7.        Attached hereto as Exhibit “A” is the Disclosure of Compensation under 11 U.S.C.

  §329 and Bankruptcy Rule 2016(b). Attached hereto as Exhibit “B” is the affidavit of Charlie

  Shelton indicating that, other than as disclosed in the affidavit, HP has no connections with the

  Debtor’s creditors, the U.S. Trustee, any person employed by the Office of the U.S. Trustee, or

  any other party in interest or their respective attorneys.

         8.        Prior to the filing of the Chapter 11 Cases, HP received $20,000.00. $14,190.50

  was credited to prepetition billing, including $1,717.00 allocated to the filing fee. HP is holding

  $5,809.50 in its IOLTA Trust account.

         9.        A copy of the contract between the Debtor and HP setting forth the terms of its and

  compensation as required by Local Rule 2014(b)(2) is attached to this Application as Exhibit C.

  As set forth therein, subject to this Court’s approval, the terms of the employment of HP agreed to

  by the Debtor-in-Possession are that certain attorneys and other personnel within the firm will

  undertake this representation at the following hourly rates:


               Charlie Shelton                                                      $325.00
               Other attorneys .....................................................$150 - $425
               Paralegal                                                            $150.00

         10.       In addition, the terms of employment include the following charges for expenses,

  subject to Court approval:

               In-house photocopies                                                     $0.05 per page
               Long Distance                                                            actual costs
               Postage                                                                  actual costs
               All other out of pocket expenses, including all travel                   actual costs

         11.       Except as stated herein, no other attorneys for the Debtor have been employed.

         WHEREFORE, Debtor prays that its employment of HP under the terms specified be

  approved by the Court, and that it have such other and further relief as is just.
20-10640-tmd Doc#58 Filed 06/22/20 Entered 06/22/20 18:03:25 Main Document Pg 4 of 5




                                      Respectfully submitted,

                                      EF-290, LLC


                                      By: /s/Dane Eppen [signed with permission]
                                              Dane Eppen
                                              Manager
                                              EF-290, LLC

                                      HAJJAR PETERS LLP

                                              By: /s/Charlie Shelton
                                              Charlie Shelton
                                              Bar Number: 24079317
                                              3144 Bee Caves Rd
                                              Austin, TX 78746
                                              (512) 637-4956
                                              (512) 637-4958 (FAX)
                                              cshelton@legalstrategy.com
                                              PROPOSED ATTORNEYS FOR
                                              DEBTOR
20-10640-tmd Doc#58 Filed 06/22/20 Entered 06/22/20 18:03:25 Main Document Pg 5 of 5




                                   CERTIFICATE OF SERVICE
             This is to certify that a true and correct copy of foregoing motion was served on June 22,
  2020, via CM/ECF on all parties requesting such notice. Additionally, within one business day
  thereafter, the foregoing application was served on the Debtor via United States First Class Mail
  with all exhibits. Additionally, the Notice of Employment of Professional was served by U.S. Mail
  on all parties listed on the attached creditors’ matrix who did not receive electronic notice. Exhibits
  are available upon request.
                                                                 /s/Charlie Shelton
                                                                 Charlie Shelton

   EF-290, LLC                                        Michael G. Colvard
   c/o Dane Eppen and                                 300 Convent St.
   Stacy Eppen                                        San Antonio, TX 78205
   7101 W, TX-71 Suite D
   Austin TX, 78735                                   Trustee

   Debtor
